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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


MICHAEL SMITH,                    )
                                  )
     Petitioner,                  )
                                  )         CIVIL ACTION NO.
     v.                           )           2:17cv270-MHT
                                  )                (WO)
UNITED STATES OF AMERICA,         )
                                  )
     Respondent.                  )

                              JUDGMENT

    In accordance with the memorandum opinion entered

today, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

    (1) Petitioner's        objections       (doc.    no.    25)       are

overruled.

    (2) The       United       States        Magistrate        Judge's

recommendation (doc. no. 21) is adopted.

    (3) The 28 U.S.C. § 2255 petition (doc. no. 1) is

denied.

    It is further ORDERED that costs are taxed against

petitioner, for which execution may issue.

    The clerk of the court is DIRECTED to enter this

document   on   the    civil    docket     as   a    final    judgment
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pursuant   to   Rule   58   of    the   Federal     Rules    of   Civil

Procedure.

    This case is closed.

    DONE, this the 30th day of June, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
